Case 2:18-cv-06091-GW-SK Document 18-2 Filed 10/09/18 Page 1 of 9 Page ID #:124



                             EXHIBIT B
Case 2:18-cv-06091-GW-SK Document 18-2 Filed 10/09/18 Page 2 of 9 Page ID #:125
 Unicorn | mythological creature | Britannica.com                                      Page 1 of 8


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    Unicorn
    MYTHOLOGICAL CREATURE


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    Unicorn, mythological animal resembling a
    horse or a kid with a single horn on its forehead.
    The unicorn appeared in early Mesopotamian
    artworks, and it also was referred to in the
    ancient myths of India and China. The earliest
    description in Greek literature of a single-
    horned (Greek monokerōs, Latin unicornis)
    animal was by the historian Ctesias (c. 400 BCE),
    who related that the Indian wild ass was the
    size of a horse, with a white body, purple head,
    and blue eyes, and on its forehead was a cubit-         Unicorn
                                                            MYTHOLOGICAL CREATURE
    long horn coloured red at the pointed tip, black
    in the middle, and white at the base. Those who
    drank from its horn were thought to be
    protected from stomach trouble, epilepsy, and
    poison. It was very fleet of foot and difficult to
    capture. The actual animal behind Ctesias’s
    description was probably the Indian rhinoceros.                        Download our free      
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                                           Exhibit B - Page 1
Case 2:18-cv-06091-GW-SK Document 18-2 Filed 10/09/18 Page 3 of 9 Page ID #:126
 Unicorn | mythological creature | Britannica.com                                       Page 2 of 8


    Certain poetical passages of the Bible refer to a
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                                                                                                   
    strong and splendid horned animal called
   Unicorn
    reʾem. ThisCREATURE
                word was   translated “unicorn” or
                                                                                               
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    “rhinoceros” in many versions of the Bible, but
    many modern translations prefer “wild
    ox” (aurochs), which is the correct meaning of
    the Hebrew reʾem. As a biblical animal, the
    unicorn was interpreted allegorically in the early
    Christian church. One of the earliest such
    interpretations appears in the ancient Greek
    bestiary known as the Physiologus, which states
    that the unicorn is a strong, fierce animal that
    can be caught only if a virgin maiden is thrown
    before it. The unicorn leaps into the virgin’s lap,
    and she suckles it and leads it to the king’s
    palace. Medieval writers thus likened the
    unicorn to Christ, who raised up a horn of
    salvation for mankind and dwelt in the womb of
    the Virgin Mary. Other legends tell of the
    unicorn’s combat with the elephant, whom it
    finally spears to death with its horn, and of the
    unicorn’s purifying of poisoned waters with its
    horn so that other animals may drink.


    Cups reputedly made of unicorn horn—but
    actually made of rhinoceros horn or narwhal
    tusk—were highly valued by important persons
    in the Middle Ages as a protection against
    poisoned drinks. Many fine representations of
    the hunt of the unicorn survive in medieval art,
    not only in Europe but also in the Islamic world
    and in China.


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                                           Exhibit B - Page 2
Case 2:18-cv-06091-GW-SK Document 18-2 Filed 10/09/18 Page 4 of 9 Page ID #:127
 Unicorn | mythological creature | Britannica.com                                                      Page 3 of 8


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        The Unicorn Is Killed and Brought to the Castle
    The Unicorn Is Killed and Brought to the Castle, wool warp
     with wool, silk, silver, and gilt wefts, South Netherlandish,
     1495–1505; in the Metropolitan Museum of Art, New York
                                   City.
     Photograph by KaDeWeGirl. The Metropolitan Museum of Art, New
           York City, gift of John D. Rockefeller Jr., 1937 (37.80.5)




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                                        unicorn.…



    Ctesias

    Ctesias, Greek physician and historian of Persia and
    India whose works were popular and influential in
    antiquity. In 405 bc Ctesias traveled to the Persian                                   Download our free      
    court, where he remained as physician under the                                        Chrome extension,
    rulers Darius II and Artaxerxes II. He…                                                Britannica Insights.




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                                                           Exhibit B - Page 3
Case 2:18-cv-06091-GW-SK Document 18-2 Filed 10/09/18 Page 5 of 9 Page ID #:128
 Unicorn | mythological creature | Britannica.com                                        Page 4 of 8


               · DEMYSTIFIED · Christianity
   SPOTLIGHT                    QUIZZES · GALLERIES · LISTS · ON THIS DAY · BIOGRAPHIES
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                               Christianity, major
   Unicorn
                               religion, stemming from                                          
   MYTHOLOGICAL CREATURE                                          Media   Print   Cite   Share   Feedback
                               the life, teachings, and
                               death of Jesus of
                               Nazareth (the Christ, or
    the Anointed One of God) in the 1st century ad. It
    has become the largest of the world’s religions.
    Geographically the most widely diffused of all faiths,
    it has a constituency of more…


                               rhinoceros

                               Rhinoceros, (family
                               Rhinocerotidae), any of
                               five or six species of giant
                               horn-bearing herbivores
                               that include some of the
    largest living land mammals. Only African and Asian
    elephants are taller at the shoulder than the two
    largest rhinoceros species—the white, or square-
    lipped (Ceratotherium simum, which some…


    Kraken

    Kraken, a fabulous Scandinavian sea monster
    perhaps imagined on the basis of chance sightings
    of giant squids. It appears in literature in a poem of
    Alfred, Lord Tennyson’s juvenilia called “The…




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                                             Exhibit B - Page 4
Case 2:18-cv-06091-GW-SK Document 18-2 Filed 10/09/18 Page 6 of 9 Page ID #:129
 Unicorn | mythological creature | Britannica.com                                          Page 5 of 8


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    Assorted
   Unicor n References                                                                            
   MYTHOLOGICAL CREATURE                                            Media   Print   Cite   Share   Feedback
      • narwhal’s horn
          • (In narwhal)




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                                          Exhibit B - Page 5
Case 2:18-cv-06091-GW-SK Document 18-2 Filed 10/09/18 Page 7 of 9 Page ID #:130
 Unicorn | mythological creature | Britannica.com                                    Page 6 of 8


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   Unicorn                                                                                  
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        Hinduism

        Hinduism, major world
        religion originating on the
        Indian subcontinent and
        comprising several and
        varied…



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        Fascism
                                                                         Download our free      
        Fascism, political ideology                                      Chrome extension,
        and mass movement that                                           Britannica Insights.
        dominated many parts of




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                                         Exhibit B - Page 6
Case 2:18-cv-06091-GW-SK Document 18-2 Filed 10/09/18 Page 8 of 9 Page ID #:131
 Unicorn | mythological creature | Britannica.com                                    Page 7 of 8


        central,
              · southern, and
   SPOTLIGHT
        eastern…
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   Unicorn                                                                                  
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        Islam

        Islam, major world religion
        promulgated by the
        Prophet Muhammad in
        Arabia in the 7th century
        ce. The…



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                                        Exhibit B - Page 7
Case 2:18-cv-06091-GW-SK Document 18-2 Filed 10/09/18 Page 9 of 9 Page ID #:132
 Unicorn | mythological creature | Britannica.com                                          Page 8 of 8


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                                          Exhibit B - Page 8
